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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                     )
                                               )
         v.                                    )       Case No. 21-CR-453 (JDB)
                                               )
 SEAN MICHAEL MCHUGH,                          )
                                               )
                        Defendant.             )
                                               )


                      DEFENDANT’S SENTENCING MEMORANDUM


       COMES NOW Defendant, Sean McHugh (Mr. McHugh), by and through his attorney of

record, and for his Sentencing Memorandum states as follows:

          I.   Introduction

       Mr. McHugh was one of participants in the protest that occurred on January 6, 2021. This

protest has been cast in the light of a riot and insurrection, a threat to democracy and other such

terms. To speak of those events in this manner particularly when discussing an individual

defendant is unjust and misleading. Mr. McHugh is not a rioter nor is he an insurrectionist. He is

an American citizen who, like any of us could, found himself caught up in the emotion of the

events of a day which began lawfully and peacefully, then dominoed into the situation in which

he finds himself now. Mr. McHugh has maintained and continues to maintain that his actions for

which he stands before this Court were not planned, nor did he engage in the January 6 protest

with any ill intent or malice.
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          II.    Facts and Background

        The facts of this case are simple. Mr. McHugh traveled to Washington D.C. to protest

what he believed to be an unlawful and corrupt election result. He did so fully within his rights

under the First Amendment of the Constitution to petition for a redress of grievances and under

the lawfully obtained permits for the protests which had been previously acquired 1. Mr. McHugh

participated in the protest, moving with the crowd, which became more and more agitated. Mr.

McHugh, in an unfortunate cascade of events, found himself echoing the agitation of the crowd,

expressing the growing sentiments directly to the police officers who were present to keep order.

These sentiments did not come from a place of reason or from a clear and calculating mental

state. Rather they were the product of that phenomenon commonly referred to as mob mentality.

        Mr. McHugh then found himself swept with the crowd that had breached the barriers. It

is again important to note that Mr. McHugh himself did not participate in the destruction of the

barriers, merely followed the crowd once the deed was done. While there is stipulated evidence

to the fact that Mr. McHugh tugged on a portion of one of the many barriers, it must be clear to

this Court that this was not at the time of the breach that saw the crowd enter the West Plaza, nor

did Mr. McHugh actually pull said barrier down.

         It was in the area of the West Plaza that Mr. McHugh, in a culmination of the effects of

the emotional frenzy of the crowd and the sleep deprivation that he had undergone as he traveled

to be present in D.C., which at that time of 1:00 PM, found Mr. McHugh awake for nearly 48

hours, caused an exceedingly poor exercise of judgment when Mr. McHugh deployed a cannister


1
  The Metro PD released their report detailing the various demonstrations and protests which they had prepared for,
listing these protests as being permitted events.
https://drive.google.com/file/d/1H3mHiUZCz9jyfDFTTpYw7VuYCgMtuLWW/view
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of chemical irritant. Mr. McHugh has maintained and continues to maintain that such

deployment was a reaction to the riot tactics being employed by law enforcement which resulted

in Mr. McHugh seeing his mother get hit with projectiles. Mr. McHugh avers that his

deployment of the chemical irritant was a spontaneous reaction and not a reasoned action. He

had no intent to harm law enforcement or anyone else, and as can be seen from the evidence

stipulated to at trial, Mr. McHugh is so far away from where the police line was that the officer

who was affected was more a fluke of the wind conditions than from any accuracy or directed

intent by Mr. McHugh. This is consistent with the substance of Mr. McHugh’s interview as set

forth in the Pre-Sentencing Report submitted to this Court (ECF 109 at 37-38). Within minutes

after this escalation, Mr. McHugh withdrew from the area. .

       III.    Addressing the Government’s Position

       In presenting his own memorandum regarding sentencing, Mr. McHugh must

preemptively address certain points which the Government will no doubt raise.

       The statements made by Mr. McHugh are undeniably such as would cause your average

person in a reasonable mental state to raise an eyebrow. It is nigh guaranteed that the

Government will make use of Mr. McHugh’s statements in a manner most calculated to outrage

this Court in an effort to secure the most extreme sentence. However, it has been held that,

“the First Amendment protects even offensive and inflammatory speech. First Amendment
jurisprudence is, of course, replete with cases in which speech even more offensive than that
engaged in here was found protected under the First Amendment despite the effects of
the speech on the listener.” Gray v. Sobin, 2014 D.C. Super. LEXIS 1, *24.
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And so, while there remains responsibility retained by Mr. McHugh in the fact of what he did

say, let this Court consider the circumstances surrounding such statements and the Constitutional

protections afforded to all American Citizens, even Lady Liberty’s more wayward sons.

         It is not denied by Mr. McHugh that his rhetoric, which he has stipulated to having

uttered, was aggressive. Mr. McHugh does not seek to excuse what he said as he recognizes in

retrospect the excessive nature of his comments. Mr. McHugh humbly asserts that the

combination of emotional fervor and exhaustion 2 inhibited his common sense and contributed to

his lack of judgment.

         Secondly, the Government will no doubt argue that Mr. McHugh’s assertion as to the

events which led up to him deploying chemical irritant are made suspect by the fact that he

possessed the cannister in the first place. Mr. McHugh, like a vast majority of his fellow

protestors, went into the protest on January 6 convinced that ANTIFA would be present to incite

violence. ANTIFA has an extensively documented history of countering events where supporters

of Donald Trump were gathered 3. ANTIFA also has a well-documented history of engaging in

acts of physical violence 4. Mr. McHugh carried the chemical irritant as a lawful 5 means of self-


2
  Mr. McHugh had been awake for over 48 hours by the time he engaged in the behaviors at issue here. This lack of
sleep has been found by the CDC and the NIOSH to have similar impairment effect as intoxication. At 24 hours and
greater, this impairment is similar to a BAC of 0.10%.
https://www.cdc.gov/niosh/emres/longhourstraining/impaired.html#:~:text=Being%20awake%20for%2017%20ho
urs,drunk%20driving%20level%20of%200.08
3
  https://www.nytimes.com/article/what-antifa-trump.html
https://www.youtube.com/watch?v=X8SIVkfEO0g
4
  https://www.washingtonpost.com/news/morning-mix/wp/2017/08/28/black-clad-antifa-attack-right-wing-
demonstrators-in-berkeley/
https://www.youtube.com/watch?v=fU9IWM_IbgM
5
  The carrying of pepper spray or chemical irritant is not prohibited on the Capitol Grounds, only inside the Capitol
itself which Mr. McHugh did not enter. https://www.uscp.gov/visiting-capitol-hill/regulations-
prohibitions/prohibited-
items#:~:text=Prohibited%20Items%20in%20the%20House%20and%20Senate%20Galleries&text=device%2C%20a
nd%20fireworks.-,Mace%20and%20pepper,Aerosol%20containers.
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defense should ANTIFA have been encountered. When the aforementioned series of events led

to Mr. McHugh’s mother being caught in the crossfire of the riot tactics of the police, Mr.

McHugh, undoubtedly exercising poor judgment, utilized the means at his disposal reactively to

what he had observed his mother suffering.

        The Government will undoubtedly seek to draw inference, if not make direct assertion,

that Mr. McHugh was party to a larger conspiracy that resulted in the events of January 6. The

failure of logic here is the question of the many and the one. Mr. McHugh does not stand here

with any other co-defendants, merely himself and his actions, which he has accepted

responsibility for. It is a dangerous line to assert universal culpability for the entirety of the

events of January 6 and impugn the same to each individual defendant. This, by necessity,

implies and invokes a grand, undefined and ambiguous conspiracy linking all January 6

Defendants. This poses an insurmountable obstacle as the Courts have, on numerous occasions

defined a conspiracy as actions which lay forth a specific crime, the intent and forethought to

commit said crime, and the assisting of others in the same intended crime. See United States v.

Childress, 313 U.S. App. D.C. 133, 58 F.3d 693, 700 (1995), United States v. Ali, 870 F. Supp.

2d 10, 19 (D.D.C. 2012), United States v. Borda, 786 F. Supp. 2d 25, 42 (D.D.C. 2011), United

States v. Eiland, 525 F. Supp. 2d 37, 41 (D.D.C. 2007), United States v. Thomas, 525 F. Supp.

2d 17, 22 (D.D.C. 2007), and United States v. Farrell, No. 03-311-1 (RWR), 2005 U.S. Dist.

LEXIS 14021, at *12 (D.D.C. July 8, 2005).

        Neither law enforcement, nor the Government can produce any evidence of this grand

conspiracy as defined by the law which links all January 6 Defendants so as to make all equally
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culpable. Indeed, there is no evidence, charge, or direct assertion that Mr. McHugh engaged in

any conspiracy, nor that he had any intent to do other than protest against what he believed at the

time to be a genuine grievance. The cascade of events which occurred were not planned and did

not arise from some sinister prior plot. Thus, in considering what sentence to impose which

would reflect the seriousness of the offense, this Court should look no further than the details of

the actual offense itself. By the same token, in considering how the sentence will promote

respect for the law, any sentence at all will do so. A sentence imposes some inescapable

consequence and therefore will achieve the end of imposing respect for its power.

        The Government will also no doubt argue for the maximum imposition of sentence by a

deviation upward from the guidelines citing to the need for general deterrence and specific

deterrence when imposing sentence. The Government will also no doubt argue that this Court

must give the greatest consideration to, in short, making an example out of Mr. McHugh to

present a warning to potential future rioters. This argument falls somewhat flat in the face of the

nigh universal conviction rate for all January 6 Defendants, regardless of their sentence. If ever

there was a deterrence, the universal findings of guilt is it. If that alone is not sufficient, the

vilification of all January 6 defendants in the mass media for the past two years accompanied by

the stigmatization and anecdotal warning that they have become is more than sufficient to

produce the desired effect. The use of a deviation upward in sentencing to make an example out

of Mr. McHugh evinces images of the Romans crucifying petty thieves by the side of the public

roads. Were Mr. McHugh guilty of some other, more severe and serious action, such as

breaching the Capitol Building or engaging in physical combat with law enforcement, then a

more drastic example might be appropriate. However, Mr. McHugh is but one of the many

everyday citizens who made a regrettable decision on January 6, 2021. As has been stated again
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and again, Mr. McHugh had neither design nor plan to commit any unlawful act, merely making

spontaneous choices for which he has accepted responsibility. Let such Judicial vengeance as the

Government will no doubt suggest be carried out on those who are found guilty and yet refuse to

acknowledge their guilt or accept responsibility, not on Mr. McHugh.

       Specific to this case, the Government will not doubt point to Mr. McHugh’s posturing

and rhetoric, as well as his use of a chemical irritant in support of their argument for a deviation

upward from the maximum sentence possible. As previously stated, Mr. McHugh’s regrettable

lapse in judgment which resulted in his rhetoric, posturing, and reactionary deployment of a

chemical irritant does not reflect his ordinary character. He is not, by nature a violent or

emotional man. He was swept up in the political mania that infected the nation in 2020 and felt

so strongly about his duty as a citizen to participate in the electoral process that he broke from

his normal routine and traveled to Washington D.C. to participate in a protest. By the time Mr.

McHugh arrived at the protest, he had been without sleep for over 48 hours and had the mental

function similar to someone with a 0.10% blood alcohol content. His behavior and lack of

judgment from this point can be seen to be a series of compounding external forces, not the

innate character of Mr. McHugh.

        IV.    Character of the Defendant

       Mr. McHugh is a loving father who has gone to great lengths to be a part of his son’s life.

He is also a hardworking man who contributes to his community by his gainful employment.

While Mr. McHugh does have a colorful past, some of which has been the subject of contention

during the pendency of this case, up until he became engrossed in the political fury that swept the

nation during the 2020 presidential election, he had been doing very well in setting his life on a
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constructive course for himself and his other relationships. Mr. McHugh provided for not only

his significant other, her child, and his son, but also for his father and grandmother, both of

whom suffer from various medical ailments and therefore relied on Mr. McHugh’s financial and

personal contributions, not to mention the relational bonds that exist within family.

       As stated, Mr. McHugh was doing well with getting his life on track in a productive

manner when he became a byproduct of the militarization of politics that has become the new

norm, with even what should be impartial and balanced news outlets drawing their lines in the

sand and raising the banners for one side or the other. With this in mind, it is important to note

that at any other time, Mr. McHugh’s involvement in something so fundamentally American as

politics would have been viewed as a healthy and civic minded outlet for a responsible member

of society. Removing the political party association, what is it that Mr. McHugh did?

       1. He became personally invested in the fate of his country.

       2. He identified his own values and found the party that best articulated those same

           values.

       3. He engaged with others in debate.

       4. He attempted to educate himself to the best of his knowledge on the facts of national

           importance.

       5. He went to the effort of putting out money and time to attend a protest of what he

           believed was a travesty of justice.

It was not until January 6 itself that the zeal Mr. McHugh had cultivated was applied in a most

regrettable manner. The events of January 6, 2021, aside, it is clear that Mr. McHugh did, in
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spite of his criminal past, find a constructive outlet of civic mindedness to apply himself to, an

outlet which, under any other circumstances would have been applauded.

          V.    Sentencing Considerations

Sentencing under 18 U.S.C. § 3553(a) carries four considerations:

         1. The need for the sentence imposed to reflect the seriousness of the offense and

            promote respect for the law;

         2. The need for the sentence to afford adequate deterrence;

         3. The need to avoid unwarranted sentencing disparities; and

         4. Be sufficient, but not greater than necessary.

    The Sentences Available and the Avoidance of Disparity

         Mr. McHugh has been convicted of Assaulting, Resisting, or Impeding Certain Officers

Using a Dangerous Weapon 18 USC §§ 111(a)(1) and (b) and Obstruction of an Official

Proceeding and Aiding and Abetting, 18 USC §§1512(c)(2) and 2. In reviewing the

Government’s objections and the amended presentencing report, Mr. McHugh would make an

argument for a deviation downward from the recommendation. Mr. McHugh would respectfully

argue that, while this Court must consider all four corners of the considerations for sentencing, a

deviation downward from the sentencing guidelines is warranted:

    1.   The first mitigating consideration is the fact that Mr. McHugh has been incarcerated

         already for 27 months, having been arrested on 05/27/2021 (ECF at 5). He has already

         experienced the loss of his freedom and this prior to ever having been convicted.
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     2. The second mitigating consideration is the familial attachments of Mr. McHugh, chief of

        which is Mr. McHugh’s son. His son is in his mid-teens, the age at which a child needs

        his father in his life, arguably the most 6.

     3. The third mitigating factor is the consideration of the effects of prolonged incarceration

        on Mr. McHugh. These are strange times, unprecedented in American history. A time of

        such deep divisions in the social fabric of this nation that we cannot honestly call

        ourselves unified any longer. The average citizen feels disenfranchised, unrepresented,

        and unheard by those that are supposedly elected to represent their interests. Mr. McHugh

        is no exception and if anything, his actions on January 6 are glaring proof of this. Should

        this Court exercise its sentencing power to make an example of Mr. McHugh or to crush

        him for his actions, what will the end result be? While it is always hoped that the effects

        of the judicial process will result in rehabilitation, there exists here a very real danger that

        it will have the opposite effect. This nation has a history of underestimating and

        misunderstanding ideologies. The entire Middle Eastern theater from 1990 to the present

        is cautionary tale of what happens when you try to defeat an ideology by force or

        undermine the beliefs of others you do not agree with. In this case, again while wishing to

        believe the best of Mr. McHugh and his own desire and commitment to put this chapter

        of his life behind him, this Court must consider the very real danger that exists to one

        who became swept up in an ideology and who, based on the severity of the sentence of


6
 Yogman, M.W. and Eppel, A.M., 2022. The role of fathers in child and family health. Engaged Fatherhood for
Men, Families and Gender Equality: Healthcare, Social Policy, and Work Perspectives, pp.15-30.

Lei, Z. and Lundberg, S., 2020. Vulnerable Boys: Short-term and Long-term Gender Differences in the Impacts of
Adolescent Disadvantage. Journal of economic behavior & organization, 178, pp.424-448.

East, L., Hutchinson, M., Power, T. and Jackson, D., 2020. “Being a father”: constructions of fatherhood by men
with absent fathers. Journal of Family Studies, 26(3), pp.477-487.
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        this Court, could easily fall back into those patterns of thought when faced with a

        prolonged period of incarceration, separated from his loved ones, watching as life passes

        him by.

     These mitigating considerations aside, Counsel for the Defendant, like officer Willett, was

unable to locate any cases which carried the same balance of factors whereby to seek guidance

for the avoidance of sentencing disparities. However, there are cases which have convictions for

both §1512 and §111 and these are suggestive for this Court’s consideration:

1:21-CR-00075-RDM: 33 months’ incarceration, 24 months’ supervised release
1:21-CR-00567-RCL: 41 months’ incarceration, 36 months’ supervised release
1:21-CR-00088-DLF: 63 months’ incarceration, 36 months’ supervised release
1:21-CR-00040-TNM: 32 months’ incarceration, 24 month’s supervised release
1:21-CR-00120-RCL: 41 months’ incarceration, 36 months’ supervised release
1:21-CR-00345-RCL: 51 months’ incarceration, 36 months’ supervised release


         VI.    Fines and Restitution

        While 18 USC § 3571(b)(3) provides that the maximum fine for each count is $250,000

with a mandatory fine of $100 for each count pursuant to 18 USC § 3013 in addition to the

consideration of the fines that can be imposed under USSG §5E1.2(c)(3), the Court should take

into consideration the economic situation of Mr. McHugh, the fact that incarceration prevents

and will prevent him from gainful employment, and those upon whom the burden of such fines

would fall, namely his family who are not part or party to the offenses for which Mr. McHugh

stands before this Court. The same is true of the restitution amount in this case pursuant to 18

USC § 3663(a)(3). Therefore, Mr. McHugh would seek a ruling of this Court ordering the lowest

possible fine(s) and restitution based on the foregoing considerations.
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       VII.    Conclusion

       Mr. McHugh has accepted responsibility for his actions on January 6 and regrets the

lapses in judgment he exhibited. He now asks this Court to consider his time served, his son who

he has not seen for over two years, his loving life partner who has been his constant support, and

the rest of his family who all love him and have felt his absence deeply. Mr. McHugh does not

dispute that some sentence must be imposed, he acknowledges his wrongdoing. However, the

power of the Court is not only in its ability to pass judgment, but also to balance that judgment

with mercy. This Court has the opportunity to demonstrate that while the events of January 6

were unacceptable, these so-called January 6 defendants are not the enemy. They are our fellow

citizens, neighbors, and friends. That ideology has so torn us apart is not the fault of Mr.

McHugh, no that blame lies elsewhere. In this case, a sentence of 24 months’ incarceration and

36 month’s supervised release with a combined total for fines and restitution in the amount of

$2,500.00 will be sufficient, but not greater than is necessary to address the actions of Mr.

McHugh and should permit him to rejoin society in time for his son’s high school graduation.

                                                      Respectfully submitted,




                                                      ____________________________________
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                                                      Facsimile: 417/612-7081
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                               CERTIFICATE OF SERVICE

     I hereby certify that on the 31st day of August 2023, I filed the foregoing Sentencing
Memorandum by the Court’s CM/ECF system. All case registered parties will be served by
CM/ECF.




                                                    ____________________________
                                                    Joseph W. Allen
